
Appeal from Circuit Court, Yazoo County; Kelly Collins, Special Judge.
Merrida P. Coxwell, Jr., Stanfield, Car-mody &amp; Coxwell, Jackson, for appellant.
Edwin Lloyd Pittman, Atty. Gen. by Wayne Snuggs, Asst. Atty. Gen., Jackson, for appellee.
Before ROY NOBLE LEE, P.J., and ROBERTSON and ANDERSON, JJ.
AFFIRMED.
HAWKINS, P.J., and DAN M. LEE, PRATHER, SULLIVAN and GRIFFIN, JJ., concurring.
WALKER, C.J., not participating.
